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 Co-Counsel for the Official
 Committee of Unsecured Creditors

                                           :   UNITED STATES BANKRUPTCY COURT
 In the Matter of:                         :   FOR THE DISTRICT OF NEW JERSEY
                                           :   HONORABLE GLORIA M. BURNS
 SHAPES/ARCH HOLDINGS, L.L.C., et          :   CASE NO. 08-14631(GMB)
 al.,                                      :
                                           :               (Jointly Administered)
                        Debtors.           :
                                           :                   Chapter 11
                                           :
                                           :   NOTICE OF MOTION OF THE OFFICIAL
                                               COMMITTEE OF UNSECURED
                                               CREDITORS FOR ENTRY OF AN ORDER
                                               APPOINTING A CHAPTER 11 TRUSTEE
                                               PURSUANT TO 11 U.S.C. §§ 1104 AND
                                               1106

                                               HEARING DATE AND TIME:
                                               May ___, 2008 at 10:00 a.m.

                                               ORAL ARGUMENT REQUESTED




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 TO:      All Parties-in-Interest


          PLEASE TAKE NOTICE that pursuant to an Order Shortening Time entered by the

 Bankruptcy Court on _________, 2008, on May ___, 2008, at 10:00 a.m., or as soon thereafter as

 counsel may be heard, the undersigned, attorneys for the Official Committee of Unsecured

 Creditors (the “Committee”) of Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair, L.L.C.,

 Accu-Weld, L.L.C., and Ultra L.L.C., the within debtors and debtors-in-possession, shall move

 before the Honorable Gloria M. Burns, United States Bankruptcy Judge, at the United States

 Bankruptcy Court, Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, 4th Floor, Camden,

 New Jersey 08101, for entry of an Order appointing a Chapter 11 Trustee pursuant to 11 U.S.C.

 §§ 1104 and 1106 (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned

 shall rely on the accompanying Application, which sets forth the relevant factual and legal bases

 upon which the requested relief should be granted. A proposed Order granting the requested

 relief also is submitted herewith.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

 Motion shall be filed in accordance with the Order Shortening Time.

          PLEASE TAKE FURTHER NOTICE that unless objections are timely filed, the Motion

 shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a), and the relief requested

 may be granted without further notice or hearing.




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          PLEASE TAKE FURTHER NOTICE that the undersigned requests oral argument.


                                             Respectfully submitted,

                                             HALPERIN BATTAGLIA RAICHT, LLP
                                             Co-Counsel to the Official Committee of
                                             Unsecured Creditors


                                             By:    /s/ Alan D. Halperin
                                                    Alan D. Halperin, Esq.
                                                    Donna H. Lieberman, Esq.

                                             COLE, SCHOTZ, MEISEL,
                                             FORMAN & LEONARD, P.A.
                                             Co-Counsel to the Official Committee of
                                             Unsecured Creditors


                                             By:    /s/ Michael D. Sirota
                                                     Michael D. Sirota
                                                     Ilana Volkov
                                                     Warren A. Usatine

 DATED: April 29, 2008




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